




NO. 07-04-0349-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



SEPTEMBER 29, 2005



______________________________





AMERICAN HOME ASSURANCE COMPANY,



Appellant



v.



EDWARD VAUGHN,



Appellee





_________________________________



FROM THE 251
st
 DISTRICT COURT OF RANDALL COUNTY;



NO. &nbsp;52,395-C; HON. PATRICK A. PIRTLE, PRESIDING



_______________________________



Before QUINN, C.J., REAVIS, J., and BOYD, S.J.
(footnote: 1)
Concurring Opinion

I concur with the majority but write separately to explain that the majority’s decision also follows analogous precedent. &nbsp;We have recognized that of the many statutes and rules which may entitle a prevailing party to recover attorney’s fees, the analysis applied has been uniform. &nbsp;
City of Amarillo v. Glick
, 991 S.W.2d 14, 17 (Tex. App.–Amarillo 1997, no pet.) (dealing with the recovery of fees under §143.015(c) of the Local Government Code). &nbsp;Furthermore, included among the category of statutes and rules alluded to in 
City of Amarillo
 is Rule 131 of the Texas Rules of Civil Procedure, and though it speaks in terms of a “successful party,” the definition accorded that phrase is the same one accorded the term “prevailing party.” &nbsp;
Id.
 &nbsp;So, given the uniformity of definition utilized throughout the differing bodies of law, it seems only logical that opinions implicating Rule 131 would be authoritative when deciding whether a party prevailed under §408.221(c) of the Texas Labor Code. &nbsp;After all, they encompass the same concept. &nbsp;

Next, it consistently has been held that the beneficiary of a non-suit, 
e.g.,
 the defendant when a plaintiff files a non-suit, is the prevailing or successful party for purposes of Rule 131. &nbsp;
City of Houston v. Woods,
 138 S.W.3d 574, 581 (Tex. App.–Houston [14
th
 Dist.] 2004, no pet.); 
Harris v. Shotwell
, 490 S.W.2d 860, 861 (Tex. App.–Fort Worth 1973, no writ); 
Reed v. State
, 78 S.W.2d 254, 256 (Tex. App.–Austin 1935, writ dism’d). &nbsp;If we are to retain the uniformity spoken of above, then we cannot but conclude that Edward Vaughn was the successful or prevailing party here when American Home Assurance Company filed its non-suit.

Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice

FOOTNOTES
1:John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by assignment. &nbsp;Tex. Gov’t Code Ann. §75.002(a)(1) (Vernon Supp. 2004). 




